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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COUIPP rar aersmae

for the

Southern District of Mississippi

L

United States of America “ARGUE TONNRY,

) ON
Vv. ) :

) Case No. 1:19mj657-RHW

Kevin Martin Gentry )
)
)

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of October 9, 2019 in the county of Harrison in the
Southern District of MS, Southern Division, the defendant(s) violated:
Cade Section Offense Description
26 USC 5861(d) Possession of a Firearm Not Registered in the National Firearms Registration

and Transfer Record

This criminal complaint is based on these facts:

See Affidavit, which is attached hereto and incorporated by reference herein.

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@ Continued on the attached sheet.

Cc omplainant's slefa s sla nature

David Perry, Special Agent, ATF

Printed name and title

Sworn to before me and signed in my presence.

Date: OCT. [0 DOIF ) ABBA

Judge 's signature

City and state: Gulfport, Mississippi Robert H. Walker, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

STATE OF MISSISSIPPI )
COUNTY OF HARRISON )

SOUTHERN DISTRICT OF MISSISSIPPI )

I, David Perry, being duly sworn and deposed, state the following:

I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF),
United States Department of Justice, assigned to the ATF’s Gulfport, MS Field Office. I have
been an ATF Special Agent for ten years. Prior to my employment with ATF, I served as a Patrol
Officer, Narcotics Investigator and Criminal Investigator for the City of Biloxi, Mississippi, for
nine years. I also have three years of military service with the U.S. Army as a Military Police
Officer. I am a graduate of the Federal Law Enforcement Training Center Criminal Investigator
Training Program and ATF Special Agent Basic Training Academy. I am a graduate of the
University of Southern Mississippi, and hold a Bachelor’s degree in Business Administration. As
an ATF Agent, I am empowered to investigate violations of Federal Firearms, Arson and Explosive
Laws.

I have been involved in numerous investigations involving the illegal possession of firearms by
prohibited persons, the possession and use of firearms by narcotics traffickers/gang members,
illegal sale or possession of machineguns and short-barrel shotguns or rifles, and the manufacture,
possession or use of illegal explosive devices. Several of these investigations have included
conspiratorial relationships between multiple defendants and generally involve a series or pattern
of criminal activities or multiple criminal schemes.

This affidavit is based on information learned from law enforcement agents, sources and my
examination of various reports, evidence and records. This is being submitted for the limited
purpose of establishing probable cause to support issuing a Federal Criminal Complaint and Arrest
Warrant. This affidavit does not include all the facts that have been learned during the course of
this investigation.

Based on personal knowledge and information I received from various law enforcement
sources including the Long Beach Police department, I am aware of the following facts:

1. On October 9, 2019, Long Beach Police responded to an address on Arbor Station Dive
Long Beach, MS in reference to an aggravated assault in progress involving a man with a knife.
Upon arrival officers made contact with Kevin GENTRY, (Victim 01) and (Victim 02). At the
time GENTRY was forcibly holding (Victim 01) at knife point and (Victim 01) was bleeding
profusely from the neck. Officers also noted that (Victim 02) was suffering from stab wounds to
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the neck. GENTRY was disarmed and detained.

2. A further investigation revealed that GENTRY initiated an altercation by forcing himself
into the residence (353 Arbor Station Dr Long Beach, MS) where (Victim 01) and (Victim 02)
were located. During the altercation GENTRY displayed a knife, attacked and stabbed both
(Victim 01) and (Victim 02). As a result (Victim 01) sustained a large laceration to the right side
of the neck that required emergency medical treatment. (Victim 02) also sustained lacerations to
the neck.

3. Long Beach Police subsequently located GENTRY’S vehicle parked near the crime scene.
Detectives determined GENTRY utilized the vehicle to facilitate the assault. Long Beach
Detectives applied for and were granted a search warrant for the vehicle from Long Beach
Municipal Court.

4. During the execution of the search warrant the following items were recovered:

e Firearm (Type: “Weapon Made From a Rifle”, Manufacturer: L-A-R. Manufacturing,
Model: Grizzly-15, Caliber: 5.56, Serial Number: LX009150, Barrel Length: 7 %”,
Overall Length: 26 4”)

07 magazines containing a total of 214 live rounds of 5.56 caliber ammunition
01 suspected firearm silencer

5. ATF Special Agent Perry examined the recovered firearm and measured its barrel length
and overall length. The measurements revealed a barrel length of approximately 7 % inches and
overall length of approximately 26 % inches.

6. ATF Special Agent Perry and ATF Task Force Officer Bryant subsequently conducted an
interview with GENTRY, regarding the recovered firearm. Prior to the interview GENTRY was
advised of his Miranda Rights in written and verbal form. In response GENTRY signed a Miranda
Rights waiver form arid agreed to answer questions without an attorney present.

7. During the interview, GENTRY admitted to sole possession of the recovered firearm.
GENTRY stated he purchased the firearm in 2012 in the State of Utah. GENTRY reported he
maintained sole ownership and possession of the firearm until it was recovered by the Long Beach
Police Department. GENTRY stated he never completed an ATF Form 1 (Application to Make
and Register a Firearm through the National Firearms Act Division, Bureau of Alcohol, Tobacco,
Firearms and Explosives). GENTRY reported the recovered firearm was not registered in the
National Firearms Registration and Transfer Record.

8. ATF Special Agent Shane Lynes conducted an Interstate Nexus Investigation regarding the
recovered firearm. The investigation revealed the firearm was not manufactured in the State of
Mississippi, and therefore, moved in or affected interstate commerce.

9. On October 9, 2019, a query was conducted with the National Firearms Act Division,
Bureau of Alcohol, Tobacco, Firearms and Explosives. The query revealed that the firearm was
not registered.

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10. The amended Gun Control Act of 1968 (GCA), defines “firearm” to include: “any weapon
(including a starter gun) which will or is designed to or may readily be converted to expel a
projectile by the action of an explosive ... [and] ... the frame or receiver of any such weapon”

(See 18 U.S.C. 921(a)(3)).

11. The National Firearms Act (NFA) defines “firearm” to include: “a weapon made from a
rifle if such weapon as modified has an overall length of less than 26 inches or a barrel or barrels
of less than 16 inches in length” (See 26 U.S.C. 5845(a)(4)). Pursuant to Title 26 U.S.C., Section
5861(d), it is unlawful to possess a firearm “weapon made from a rifle” not registered in the
National Firearms Registration and Transfer Record.

12. Based upon the foregoing information, my training and experience, I submit that this
information establishes probable cause to believe Kevin GENTRY, violated Title 26, U.S.C.,
Section 5861(d), in that on or about the 9th day of October, 2019, in Harrison County, in the
Southern District of Mississippi, the defendant, Kevin GENTRY, possessed a firearm “weapon
made from a rifle” not registered in the National Firearms Registration and Transfer Record.

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David Perry “4 LZ
Special Agent, US Department of Justice

Alcohol, Tobacco, Firearms &Explosives

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Sworn and subscribed before me this, the _/() * day of October 2019.

Lote

Robert H. Walker
United States Magistrate Judge

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